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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
   Northern
 ____________________                Texas
                      District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Senior Care Centers, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              2 ___
                                           ___ 6 – ___
                                                   3 ___
                                                       7 ___
                                                          8 ___
                                                             8 ___
                                                                5 ___
                                                                   5 ___
                                                                      0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            600 N. Pearl Street, Suite 1100
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Dallas,                    TX       75201
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Dallas
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                ____________________________________________________________________________________________________

                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor
                 Senior Care Centers, LLC
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                            A. Check one:
7.    Describe debtor’s business
                                            x Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               ___ ___ ___ ___

8.    Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                            x Chapter 11. Check all that apply:
                                            
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                4/01/19 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12
9.    Were prior bankruptcy cases           x No
                                            
      filed by or against the debtor
      within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases               No
      pending or being filed by a
      business partner or an                x Yes.
                                                            See Attached Schedule 1
                                                      Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


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Debtor        Senior Care Centers, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?                        x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      x No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       x After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                       

                                        1-49                           X 1,000-5,000
                                                                                                                  25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million            X $100,000,001-$500 million
                                                                                                                  More than $50 billion



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Debtor          Senior Care Centers, LLC
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million               X $100,000,001-$500 million
                                                                                                                      More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        12/04/2018
                                            Executed on _________________
                                                        MM / DD / YYYY


                                             /s/ Kevin O'Halloran
                                            _____________________________________________
                                                                                                              Kevin O'Halloran
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  Chief Restructuring Officer
                                            Title _________________________________________




18.   Signature of attorney
                                         /s/ Trey A. Monsour
                                            _____________________________________________              Date
                                                                                                                     12/04/2018
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            Trey A. Monsour
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Polsinelli PC
                                            _________________________________________________________________________________________________
                                            Firm name
                                            2950 N. Harwood Street, Suite 2100
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            Dallas
                                            ____________________________________________________           TX
                                                                                                           ____________  75201
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            713-374-1643
                                            ____________________________________                            tmonsour@polsinelli.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            14277200
                                            ______________________________________________________ TX
                                                                                                   ____________
                                            Bar number                                             State




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                                                SCHEDULE 1

          On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
11 case (collectively, the “Debtors”), filed a petition in the United States Bankruptcy Court for the
Northern District of Texas for relief under chapter 11 of the Bankruptcy Code. Contemporaneously with
the filing of their petitions, the Debtors filed a motion requesting that the chapter 11 cases of the entities
listed below be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure.

                     Entity Name                                               EIN
                     Alief SCC LLC                                         XX-XXXXXXX
                     Bandera SCC LLC                                       XX-XXXXXXX
                     Baytown SCC LLC                                       XX-XXXXXXX
                     Beltline SCC LLC                                      XX-XXXXXXX
                     Booker SCC LLC                                        XX-XXXXXXX
                     Bossier SCC LLC                                       XX-XXXXXXX
                     Bradford SCC LLC                                      XX-XXXXXXX
                     Brinker SCC LLC                                       XX-XXXXXXX
                     Brownwood SCC LLC                                     XX-XXXXXXX
                     Capitol SCC LLC                                       XX-XXXXXXX
                     CapWest-Texas LLC                                     XX-XXXXXXX
                     Cedar Bayou SCC LLC                                   XX-XXXXXXX
                     Clear Brook SCC LLC                                   XX-XXXXXXX
                     Colonial SCC LLC                                      XX-XXXXXXX
                     Community SCC LLC                                     XX-XXXXXXX
                     Corpus Christi SCC LLC                                XX-XXXXXXX
                     Crestwood SCC LLC                                     XX-XXXXXXX
                     Crowley SCC LLC                                       XX-XXXXXXX
                     CTLTC Real Estate, LLC                                XX-XXXXXXX
                     Fairpark SCC LLC                                      XX-XXXXXXX
                     Gamble Hospice Care Central LLC                       XX-XXXXXXX
                     Gamble Hospice Care Northeast LLC                     XX-XXXXXXX
                     Gamble Hospice Care Northwest LLC                     XX-XXXXXXX
                     Gamble Hospice Care of Cenla LLC                      XX-XXXXXXX
                     Green Oaks SCC LLC                                    XX-XXXXXXX
                     Harbor Lakes SCC LLC                                  XX-XXXXXXX
                     Harden HUD Holdco LLC                                 XX-XXXXXXX
                     Harden Non-HUD Holdco LLC                             XX-XXXXXXX
                     Harden Pharmacy LLC                                   XX-XXXXXXX
                     Hearthstone SCC LLC                                   XX-XXXXXXX
                     Hewitt SCC LLC                                        XX-XXXXXXX
                     HG SCC LLC                                            XX-XXXXXXX
                     Hill Country SCC LLC                                  XX-XXXXXXX
                     Holland SCC LLC                                       XX-XXXXXXX
                     Hunters Pond SCC LLC                                  XX-XXXXXXX



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               Jacksonville SCC LLC                         XX-XXXXXXX
               La Hacienda SCC LLC                          XX-XXXXXXX
               Lakepointe SCC LLC                           XX-XXXXXXX
               Major Timbers LLC                            XX-XXXXXXX
               Marlandwood East SCC LLC                     XX-XXXXXXX
               Marlandwood West SCC LLC                     XX-XXXXXXX
               Meadow Creek SCC LLC                         XX-XXXXXXX
               Midland SCC LLC                              XX-XXXXXXX
               Mill Forest Road SCC LLC                     XX-XXXXXXX
               Mission SCC LLC                              XX-XXXXXXX
               Mullican SCC LLC                             XX-XXXXXXX
               Mystic Park SCC LLC                          XX-XXXXXXX
               Normandie SCC LLC                            XX-XXXXXXX
               Onion Creek SCC LLC                          XX-XXXXXXX
               Park Bend SCC LLC                            XX-XXXXXXX
               Pasadena SCC LLC                             XX-XXXXXXX
               Pecan Tree SCC LLC                           XX-XXXXXXX
               Pecan Valley SCC LLC                         XX-XXXXXXX
               Pleasantmanor SCC LLC                        XX-XXXXXXX
               PM Management - Allen NC LLC                 XX-XXXXXXX
               PM Management - Babcock NC LLC               XX-XXXXXXX
               PM Management - Cedar Park NC LLC            XX-XXXXXXX
               PM Management - Corpus Christi NC II LLC     XX-XXXXXXX
               PM Management - Corpus Christi NC III LLC    XX-XXXXXXX
               PM Management - Corsicana NC II LLC          XX-XXXXXXX
               PM Management - Corsicana NC III LLC         XX-XXXXXXX
               PM Management - Corsicana NC LLC             XX-XXXXXXX
               PM Management - Denison NC LLC               XX-XXXXXXX
               PM Management - El Paso I NC LLC             XX-XXXXXXX
               PM Management - Fredericksburg NC LLC        XX-XXXXXXX
               PM Management - Frisco NC LLC                XX-XXXXXXX
               PM Management - Garland NC LLC               XX-XXXXXXX
               PM Management - Golden Triangle NC I LLC     XX-XXXXXXX
               PM Management - Golden Triangle NC II LLC    XX-XXXXXXX
               PM Management - Golden Triangle NC III LLC   XX-XXXXXXX
               PM Management - Golden Triangle NC IV LLC    XX-XXXXXXX
               PM Management - Killeen I NC LLC             XX-XXXXXXX
               PM Management - Killeen II NC LLC            XX-XXXXXXX
               PM Management - Killeen III NC LLC           XX-XXXXXXX
               PM Management - Lewisville NC LLC            XX-XXXXXXX
               PM Management - New Braunfels NC LLC         XX-XXXXXXX
               PM Management - Park Valley NC LLC           XX-XXXXXXX
               PM Management - Pflugerville AL LLC          XX-XXXXXXX




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               PM Management - Portland AL LLC              XX-XXXXXXX
               PM Management - Portland NC LLC              XX-XXXXXXX
               PM Management - Round Rock AL LLC            XX-XXXXXXX
               PM Management - San Antonio NC LLC           XX-XXXXXXX
               Presidential SCC LLC                         XX-XXXXXXX
               Redoak SCC LLC                               XX-XXXXXXX
               Riverside SCC LLC                            XX-XXXXXXX
               Round Rock SCC LLC                           XX-XXXXXXX
               Rowlett SCC LLC                              XX-XXXXXXX
               Ruston SCC LLC                               XX-XXXXXXX
               RW SCC LLC                                   XX-XXXXXXX
               Sagebrook SCC LLC                            XX-XXXXXXX
               San Angelo SCC LLC                           XX-XXXXXXX
               SCC Edinburg LLC                             XX-XXXXXXX
               SCC Hospice Holdco LLC                       XX-XXXXXXX
               SCC Senior Care Investments LLC              XX-XXXXXXX
               SCC Socorro LLC                              XX-XXXXXXX
               Senior Care Center Management II LLC         XX-XXXXXXX
               Senior Care Center Management LLC            XX-XXXXXXX
               Senior Care Centers Home Health LLC          XX-XXXXXXX
               Senior Care Centers, LLC                     XX-XXXXXXX
               Senior Rehab Solutions LLC                   XX-XXXXXXX
               Senior Rehab Solutions North Louisiana LLC   XX-XXXXXXX
               Shreveport SCC LLC                           XX-XXXXXXX
               Solutions 2 Wellness LLC                     XX-XXXXXXX
               South Oaks SCC LLC                           XX-XXXXXXX
               Springlake ALF SCC LLC                       XX-XXXXXXX
               Springlake SCC LLC                           XX-XXXXXXX
               Stallings Court SCC LLC                      XX-XXXXXXX
               Stonebridge SCC LLC                          XX-XXXXXXX
               Stonegate SCC LLC                            XX-XXXXXXX
               Summer Regency SCC LLC                       XX-XXXXXXX
               TRISUN Healthcare LLC                        XX-XXXXXXX
               Valley Grande SCC LLC                        XX-XXXXXXX
               Vintage SCC LLC                              XX-XXXXXXX
               West Oaks SCC LLC                            XX-XXXXXXX
               Western Hills SCC LLC                        XX-XXXXXXX
               Weston Inn SCC LLC                           XX-XXXXXXX
               Westover Hills SCC LLC                       XX-XXXXXXX
               Whitesboro SCC LLC                           XX-XXXXXXX
               Windcrest SCC LLC                            XX-XXXXXXX
               Windmill SCC LLC                             XX-XXXXXXX
               Wurzbach SCC LLC                             XX-XXXXXXX




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                                        Schedule 1

                                Company and Affiliates

   Alief SCC LLC
   Bandera SCC LLC
   Baytown SCC LLC
   Beltline SCC LLC
   Booker SCC LLC
   Bossier SCC LLC
   Bradford SCC LLC
   Brinker SCC LLC
   Brownwood SCC LLC
   Capitol SCC LLC
   CapWest-Texas LLC
   Cedar Bayou SCC LLC
   Clear Brook SCC LLC
   Colonial SCC LLC
   Community SCC LLC
   Corpus Christi SCC LLC
   Crestwood SCC LLC
   Crowley SCC LLC
   CTLTC Real Estate, LLC
   Fairpark SCC LLC
   Gamble Hospice Care Central LLC
   Gamble Hospice Care Northeast LLC
   Gamble Hospice Care Northwest LLC
   Gamble Hospice Care of Cenla LLC
   Green Oaks SCC LLC
   Harbor Lakes SCC LLC
   Harden HUD Holdco LLC
   Harden Non-HUD Holdco LLC
   Harden Pharmacy LLC
   Hearthstone SCC LLC
   Hewitt SCC LLC
   HG SCC LLC
   Hill Country SCC LLC
   Holland SCC LLC
   Hunters Pond SCC LLC
   Jacksonville SCC LLC
   La Hacienda SCC LLC
   Lakepointe SCC LLC
   Major Timbers LLC
   Marlandwood East SCC LLC

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   Marlandwood West SCC LLC
   Meadow Creek SCC LLC
   Midland SCC LLC
   Mill Forest Road SCC LLC
   Mission SCC LLC
   Mullican SCC LLC
   Mystic Park SCC LLC
   Normandie SCC LLC
   Onion Creek SCC LLC
   Park Bend SCC LLC
   Pasadena SCC LLC
   Pecan Tree SCC LLC
   Pecan Valley SCC LLC
   Pleasantmanor SCC LLC
   PM Management - Allen NC LLC
   PM Management - Babcock NC LLC
   PM Management - Cedar Park NC LLC
   PM Management - Corpus Christi NC II LLC
   PM Management - Corpus Christi NC III LLC
   PM Management - Corsicana NC II LLC
   PM Management - Corsicana NC III LLC
   PM Management - Corsicana NC LLC
   PM Management - Denison NC LLC
   PM Management - El Paso I NC LLC
   PM Management - Fredericksburg NC LLC
   PM Management - Frisco NC LLC
   PM Management - Garland NC LLC
   PM Management - Golden Triangle NC I LLC
   PM Management - Golden Triangle NC II LLC
   PM Management - Golden Triangle NC III LLC
   PM Management - Golden Triangle NC IV LLC
   PM Management - Killeen I NC LLC
   PM Management - Killeen II NC LLC
   PM Management - Killeen III NC LLC
   PM Management - Lewisville NC LLC
   PM Management - New Braunfels NC LLC
   PM Management - Park Valley NC LLC
   PM Management - Pflugerville AL LLC
   PM Management - Portland AL LLC
   PM Management - Portland NC LLC
   PM Management - Round Rock AL LLC
   PM Management - San Antonio NC LLC
   Presidential SCC LLC
   Redoak SCC LLC

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   Riverside SCC LLC
   Round Rock SCC LLC
   Rowlett SCC LLC
   Ruston SCC LLC
   RW SCC LLC
   Sagebrook SCC LLC
   San Angelo SCC LLC
   SCC Edinburg LLC
   SCC Hospice Holdco LLC
   SCC Senior Care Investments LLC
   SCC Socorro LLC
   Senior Care Center Management II LLC
   Senior Care Center Management LLC
   Senior Care Centers Home Health, LLC
   Senior Care Centers LLC
   Senior Rehab Solutions LLC
   Senior Rehab Solutions North Louisiana LLC
   Shreveport SCC LLC
   Solutions 2 Wellness LLC
   South Oaks SCC LLC
   Springlake ALF SCC LLC
   Springlake SCC LLC
   Stallings Court SCC LLC
   Stonebridge SCC LLC
   Stonegate SCC LLC
   Summer Regency SCC LLC
   TRISUN Healthcare LLC
   Valley Grande SCC LLC
   Vintage SCC LLC
   West Oaks SCC LLC
   Western Hills SCC LLC
   Weston Inn SCC LLC
   Westover Hills SCC LLC
   Whitesboro SCC LLC
   Windcrest SCC LLC
   Windmill SCC LLC
   Wurzbach SCC LLC




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Trey A. Monsour                                     Jeremy R. Johnson (Pro Hac Vice Pending)
State Bar No. 14277200                              Polsinelli PC
Polsinelli PC                                       600 3rd Avenue, 42nd Floor
2950 N. Harwood, Suite 2100                         New York, New York 10016
Dallas, Texas 75201                                 Telephone: (212) 684-0199
Telephone: (214) 397-0030                           Facsimile: (212) 684-0197
Facsimile: (214) 397-0033                           jeremy.johnson@polsinelli.com
tmonsour@polsinelli.com
PROPOSED COUNSEL TO THE DEBTORS
AND DEBTORS IN POSSESSION

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:
                                                  Chapter 11
SENIOR CARE CENTERS, LLC, et al.,
                                                  Case No. 18-______ (___)
               Debtors.
                                                  (Joint Administration Pending)


             CONSOLIDATED LIST OF CREDITORS WHO HAVE THE 40 LARGEST
                  UNSECURED CLAIMS AND ARE NOT INSIDERS

        The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”) hereby
certify that the Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims and
Are Not Insiders submitted herewith contains the names and addresses of the Debtors’
consolidated top 40 unsecured creditors (the “Top 40 List”). The list has been prepared from the
Debtors’ unaudited books and records as of the Petition Date. The Top 40 List was prepared in
accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the
Debtors’ chapter 11 cases. The Top 40 List does not include: (1) persons who come within the
definition of an “insider” set forth in 11 U.S.C. § 101(31); or (2) secured creditors, unless the
value of the collateral is such that the unsecured deficiency places the creditor among the holders
of the 40 largest unsecured claims. The information presented in the Top 40 List shall not
constitute an admission by, nor is it binding on, the Debtors. Moreover, nothing herein shall
affect the Debtors’ right to challenge the amount or characterization of any claim at a later date.
The failure of the Debtors to list a claim as contingent, unliquidated or disputed does not
constitute a waiver of the Debtors’ right to contest the validity, priority, and/or amount of any
such claim.




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Debtor name Senior Care Centers LLC

UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF TEXAS
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                      12/15
A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40
largest unsecured claims.

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                              Name, telephone number, and                                claim is
mailing address, including zip                email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


1   Sabra Health Care Reit, Inc.              Sabra Health Care Reit, Inc.           Rent                                                                         $31,785,032.13
    353 N Clark, Ste 2900                     Tel: 888-393-8248
    Chicago, IL 60654                         Email: Bchappell@Sabrahealth.Com
                                              Bhealey@Sabrahealth.Com



2   Healthcare Services Group Inc             Healthcare Services Group Inc          HSG                                                                           $7,963,956.84
    3220 Tillman Dr Ste 300                   Tel: 267-525-8551
    Bensalem, PA 19020                        Email: Jotoole@Hcsgcorp.Com




3   Omnicare, Inc.                            Omnicare, Inc.                         Pharmacy                                                                      $7,040,541.07
    P.O. Box 715276                           Tel: 480-765-6353
    Columbus, OH 43271-5276                   Email: Susan.Vallone@Cvshealth.Com




4   Medline Industries Inc                    Medline Industries Inc                 Trade                                                                         $3,151,957.78
    Dept 1080                                 Tel: 800-388-2147
    P.O. Box 121080                           Email: Finance@Medline.Com
    Dallas, TX 75312-1080




5   Recovercare LLC                           Recovercare LLC                        Trade                                                                         $2,259,824.04
    P.O. Box 936446                           Tel: 800-826-0270
    Atlanta, GA 31193-6446                    Email: Billing@Joernsrecovercare.Com




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Debtor name Senior Care Centers LLC                                                                        Case No. (If known)

                                                                       (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                 claim is
mailing address, including zip              email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


6   Direct Supply                           Direct Supply                           Supplies                                                                      $1,406,964.18
    P.O. Box 88201                          Tel: 888-433-3224
    Milwaukee, WI 53288-0201




7   Schryver Medical Sales And              Schryver Medical Sales And Marketing,   Trade                                                                         $1,382,300.38
    Marketing, LLC                          LLC
    12075 East 45Th Ave                     Tel: 800-638-3240
    Suite 600
    Denver, CO 80239


8   Acadian Ambulance Services, Inc.        Acadian Ambulance Services, Inc.        Transport                                                                       $836,859.51
    P.O. Box 92970                          Tel: 800-259-3333
    Lafayette, LA 70509




9   Sedgwick CMS                            Sedgwick CMS                            Trade                                                                           $811,236.45
    175 W. Jackson                          Tel: 713-914-3238
    Suite 700
    Chicago, IL 60604



10 Specialized Medical Services, Inc.       Specialized Medical Services, Inc.      Trade                                                                           $755,222.84
   7237 Solution Center                     Tel: 800-786-3656
   Chicago, IL 60677-7002




11 Diagnostic Laboratories & Radiology      Diagnostic Laboratories & Radiology     Trade                                                                           $536,447.30
   2820 N Ontario St.                       Tel: 818-549-1880
   Burbank, CA 91504-2015




12 Mobilexusa (DSSI)                        Mobilexusa (DSSI)                       Trade                                                                           $477,200.57
   930 Ridgebrook Road 3rd Floor            Tel: 800-388-2147
   Sparks, MD 21152




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Debtor name Senior Care Centers LLC                                                                        Case No. (If known)

                                                                       (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                 claim is
mailing address, including zip              email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


13 Pharmerica                               Pharmerica                              Pharmacy                                                                        $401,318.39
   P.O. Box 409251                          Tel: 800-722-3005
   Atlanta, GA 30384-9251




14 Seqirus USA, Inc.                        Seqirus USA, Inc.                       Trade                                                                           $333,126.39
   P.O. Box 934973                          Tel: 855-358-8966
   3585 Atlanta Ave                         Email:
   Hapeville, GA 30354                      Usainc.Accountsreceivable@Seqirus.Com



15 Centurylink                              Centurylink                             Telephone                                                                       $324,315.96
   P.O. Box 52187                           Tel: 865-465-2313
   Phoenix, AZ 85072-2187




16 Pointclickcare Technologies, Inc.        Pointclickcare Technologies, Inc.       Trade                                                                           $305,072.46
   P.O. Box 674802                          Tel: 800-277-5889
   Detroit, MI 48267-4802




17 San Antonio North Knoll LLC              San Antonio North Knoll LLC             Rent                                                                            $276,686.29
   10960 Wilshire Blvd, 5Th Fl              Email: Dbellis@Nksf.Com;
   Los Angeles, CA 90024                    Nsm12Lmu@Yahoo.Com;
                                            Tokum@Picoainc.Com




18 Hidalgo Healthcare Realty                Hidalgo Healthcare Realty               Rent                                                                            $250,951.87
   5647 New Copeland Rd                     Email: Lparker@Sciconstruction-Tx.Com
   Tyler, TX 75703




19 Cedar Park Healthcare LLC                Cedar Park Healthcare LLC               Rent                                                                            $227,424.00
   21726 Hardy Oak Blvd                     Email:
   San Antonio, TX 78258                    Jsmithers@Smithersconstruction.Com,
                                            Lwhite@Smithersconstruction.Com




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Debtor name Senior Care Centers LLC                                                                    Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                   Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                             claim is
mailing address, including zip              email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                           (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                loans,                               deduction for value of collateral or setoff to
                                                                                professional                         calculate unsecured claim.
                                                                                services, and
                                                                                government
                                                                                                                    Total Claim, if   Deduction        Unsecured claim
                                                                                contracts)
                                                                                                                    partially         for value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


20 Performance Food Group - Temple          Performance Food Group - Temple     Food                                                                            $205,982.24
   P.O. Box 951641                          Tel: 800-375-3606
   Dallas, TX 75395-1641




21 Belfor Usa Group, Inc.                   Belfor Usa Group, Inc.              Trade                                                                           $200,000.00
   4820 Ih 35 North                         Tel: 254-799-8400
   Waco, TX 76705                           Email: Lori.Ballard@Us.Belfor.Com




22 GPDP Development Ltd.                    GPDP Development Ltd.               Rent                                                                            $189,170.32
   610 Towson Avenue                        Email: Jana.Mundy@Gpfsm.Com
   Fort Smith, AR 72901




23 BKD, LLP                                 BKD, LLP                            Trade                                                                           $184,535.00
   Attn: Accounts Receivable                Tel: 417-866-5822
   P.O. Box 1190                            Email: Bbowmaster@Bkd.Com
   Springfield, MO 65801-1190



24 Century Healthcare LLC                   Century Healthcare LLC              Insurance                                                                       $175,991.18
   CHC Companion
   P.O. Box 3280
   Grapevine, TX 76099-3280




25 OLP Wyoming Springs LLC                  OLP Wyoming Springs LLC             Rent                                                                            $169,370.52
   c/o One Liberty Properties, Inc.         Email: Pchachlani@1Liberty.Com
   60 Cuttermill Rd, Suite 303
   Great Neck, NY 11021




26 ADP, Inc.                                ADP, Inc.                           Trade                                                                           $164,817.69
   P.O. Box 842875                          Tel: 800-225-5237
   Boston, MA 02284-2875




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Debtor name Senior Care Centers LLC                                                                          Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                         Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                   claim is
mailing address, including zip              email address of creditor contact         claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                 (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                      trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                      loans,                               deduction for value of collateral or setoff to
                                                                                      professional                         calculate unsecured claim.
                                                                                      services, and
                                                                                      government
                                                                                                                          Total Claim, if   Deduction        Unsecured claim
                                                                                      contracts)
                                                                                                                          partially         for value of
                                                                                                                          secured           collateral or
                                                                                                                                            setoff


27 Staples Business Advantage (DSSI)        Staples Business Advantage (DSSI)         Supplies                                                                        $153,040.47
   500 Staples Drive                        Tel: 877-826-7755
   Framingham, MA 01702                     Email: John.Jones3@Staples.Com




28 Presto-X / Rentokil Sterite              Presto-X / Rentokil Sterite               Trade                                                                           $143,727.29
   P.O. Box 13848                           Tel: 877-764-0007
   Reading, PA 19612                        Email: Nationalcollections@Rentokil.Com




29 Colonial Life Accident & Insurance Co    Colonial Life Accident & Insurance Co     Insurance                                                                       $138,876.78
   Processing Center                        Tel:
   P.O. Box 1365                            Email:
   Columbia, SC 29202-1365




30 PC Connection Sales                      PC Connection Sales                       Trade                                                                           $130,583.12
   Dba Connections                          Tel: 800-800-0011
   P.O. Box 536472                          Email:
   Pittsburgh, PA 15253-5906




31 GB&P Lubbock Ltd                         GB&P Lubbock Ltd                          Rent                                                                            $125,094.22
   610 Towson Avenue                        Email: Jana.Mundy@Gpfsm.Com
   Fort Smith, AR 72901




32 Clinical Resources LLC                   Clinical Resources LLC                    Contraclbr                                                                      $123,787.07
   3338 Peachtree Road, Ne                  Tel: 404-343-7227
   Suite 102                                Email:
   Atlanta, GA 30326




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Debtor name Senior Care Centers LLC                                                                  Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                 Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                             claim is
mailing address, including zip            email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                         (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                              trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                              loans,                               deduction for value of collateral or setoff to
                                                                              professional                         calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                                                                  Total Claim, if   Deduction        Unsecured claim
                                                                              contracts)
                                                                                                                  partially         for value of
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


33 AHS-Medrec, Inc. D/B/A Medrec          AHS-Medrec, Inc. D/B/A Medrec       Contraclbr                                                                      $118,702.72
   P.O. Box 732800                        Tel: 888-740-4341
   Dallas, TX 75373-2800                  Email:




34 CEU360                                 CEU360                              Trade                                                                           $110,792.00
   5048 Tennyson Parkway                  Tel: 800-554-2387
   Suite 200                              Email:
   Plano, TX 75024




35 HD Supply Facilities Maintenance       HD Supply Facilities Maintenance    Trade                                                                           $103,050.31
   P.O. Box 509058                        Tel: 800-798-8888
   San Diego, CA 92150-9058               Email:




36 Staples Promotional Products           Staples Promotional Products        Trade                                                                           $102,126.56
   Bin #150003                            Tel: 469-262-4548
   P.O. Box 790322                        Email:
   St. Louis, MO 63179-0322




37 CNA Deductible Recovery Group          CNA Deductible Recovery Group       Trade                                                                           $100,000.00
   P.O. Box 6065-02                       Tel: 888-999-1365
   Hermitage, PA 16148-1068               Email:




38 Ogletree Deakins                       Ogletree Deakins                    Trade                                                                            $98,319.99
   P.O. Box 89                            Tel: 864-241-1900
   Columbia, SC 29202                     Email:




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Debtor name Senior Care Centers LLC                                                                Case No. (If known)

                                                                 (Continuation Sheet)

Name of creditor and complete                                               Nature of the       Indicate if      Amount of unsecured claim
                                        Name, telephone number, and                             claim is
mailing address, including zip          email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                       (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                            trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                            loans,                               deduction for value of collateral or setoff to
                                                                            professional                         calculate unsecured claim.
                                                                            services, and
                                                                            government
                                                                                                                Total Claim, if   Deduction        Unsecured claim
                                                                            contracts)
                                                                                                                partially         for value of
                                                                                                                secured           collateral or
                                                                                                                                  setoff


39 Navarro Snf Development, LP          Navarro Snf Development, LP         Rent                                                                             $95,839.00
   9840 Jacksboro Hwy                   Email: Mcdonnellconst@Gmail.Com;
   Ft. Worth, TX 76135                  Mcdonnellbuildersmf@Gmail.Com




40 Trinity Tile And Stone               Trinity Tile And Stone              Trade                                                                            $87,667.48
   3705 Tarragona Lane                  Email:
   Austin, TX 78727




 Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                            Page 7
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Trey A. Monsour                                   Jeremy R. Johnson (Pro Hac Vice Pending)
State Bar No. 14277200                            Polsinelli PC
Polsinelli PC                                     600 3rd Avenue, 42nd Floor
2950 N. Harwood, Suite 2100                       New York, New York 10016
Dallas, Texas 75201                               Telephone: (212) 684-0199
Telephone: (214) 397-0030                         Facsimile: (212) 684-0197
Facsimile: (214) 397-0033                         jeremy.johnson@polsinelli.com
tmonsour@polsinelli.com
PROPOSED COUNSEL TO THE DEBTORS
AND DEBTORS IN POSSESSION

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

In re:
                                                 Chapter 11
SENIOR CARE CENTERS, LLC, et al.,
                                                 Case No. 18-______ (___)
              Debtors.
                                                 (Joint Administration Pending)


      CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
         FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007AND 7007.1

       Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the above-captioned debtors and debtors in possession (collectively, the “Debtors”) respectfully
represent that the following corporations directly or indirectly own 10% or more of any class of
the Debtors’ equity interests.

   Entity                                                         Ownership
   Alief SCC LLC                                        Senior Care Centers, LLC (100%)
   Bandera SCC LLC                                      Senior Care Centers, LLC (100%)
   Baytown SCC LLC                                      Senior Care Centers, LLC (100%)
   Beltline SCC LLC                                     Senior Care Centers, LLC (100%)
   Booker SCC LLC                                       Senior Care Centers, LLC (100%)
   Bossier SCC LLC                                      Senior Care Centers, LLC (100%)
   Bradford SCC LLC                                     Senior Care Centers, LLC (100%)
   Brinker SCC LLC                                      Senior Care Centers, LLC (100%)
   Brownwood SCC LLC                                    Senior Care Centers, LLC (100%)
   Capitol SCC LLC                                      Senior Care Centers, LLC (100%)
   CapWest-Texas LLC                                    CTLTC Real Estate, LLC (100%)
   Cedar Bayou SCC LLC                                  Senior Care Centers, LLC (100%)
   Clear Brook SCC LLC                                  Senior Care Centers, LLC (100%)



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   Colonial SCC LLC                             Senior Care Centers, LLC (100%)
   Community SCC LLC                            Senior Care Centers, LLC (100%)
   Corpus Christi SCC LLC                       Senior Care Centers, LLC (100%)
   Crestwood SCC LLC                            Senior Care Centers, LLC (100%)
   Crowley SCC LLC                              Senior Care Centers, LLC (100%)
   CTLTC Real Estate, LLC                       Senior Care Centers, LLC (100%)
   Fairpark SCC LLC                             Senior Care Centers, LLC (100%)
   Gamble Hospice Care Central LLC          Gamble Hospice Care Northwest LLC (100%)
   Gamble Hospice Care Northeast LLC        Gamble Hospice Care Northwest LLC (100%)
   Gamble Hospice Care Northwest LLC            SCC Hospice Holdco LLC (100%)
   Gamble Hospice Care of Cenla LLC             SCC Hospice Holdco LLC (100%)
   Green Oaks SCC LLC                           Senior Care Centers, LLC (100%)
   Harbor Lakes SCC LLC                         Senior Care Centers, LLC (100%)
   Harden HUD Holdco LLC                         CTLTC Real Estate, LLC (100%)
   Harden Non-HUD Holdco LLC                     CTLTC Real Estate, LLC (100%)
   Harden Pharmacy LLC                           CTLTC Real Estate, LLC (100%)
   Hearthstone SCC LLC                          Senior Care Centers, LLC (100%)
   Hewitt SCC LLC                               Senior Care Centers, LLC (100%)
   HG SCC LLC                                   Senior Care Centers, LLC (100%)
   Hill Country SCC LLC                         Senior Care Centers, LLC (100%)
   Holland SCC LLC                              Senior Care Centers, LLC (100%)
   Hunters Pond SCC LLC                         Senior Care Centers, LLC (100%)
   Jacksonville SCC LLC                         Senior Care Centers, LLC (100%)
   La Hacienda SCC LLC                          Senior Care Centers, LLC (100%)
   Lakepointe SCC LLC                           Senior Care Centers, LLC (100%)
   Major Timbers LLC                             CTLTC Real Estate, LLC (100%)
   Marlandwood East SCC LLC                     Senior Care Centers, LLC (100%)
   Marlandwood West SCC LLC                     Senior Care Centers, LLC (100%)
   Meadow Creek SCC LLC                         Senior Care Centers, LLC (100%)
   Midland SCC LLC                              Senior Care Centers, LLC (100%)
   Mill Forest Road SCC LLC                     Senior Care Centers, LLC (100%)
   Mission SCC LLC                              Senior Care Centers, LLC (100%)
   Mullican SCC LLC                             Senior Care Centers, LLC (100%)
   Mystic Park SCC LLC                          Senior Care Centers, LLC (100%)
   Normandie SCC LLC                            Senior Care Centers, LLC (100%)
   Onion Creek SCC LLC                          Senior Care Centers, LLC (100%)
   Park Bend SCC LLC                            Senior Care Centers, LLC (100%)
   Pasadena SCC LLC                             Senior Care Centers, LLC (100%)
   Pecan Tree SCC LLC                           Senior Care Centers, LLC (100%)
   Pecan Valley SCC LLC                         Senior Care Centers, LLC (100%)
   Pleasantmanor SCC LLC                        Senior Care Centers, LLC (100%)
   PM Management - Allen NC LLC               Harden Non-HUD Holdco, LLC (100%)
   PM Management - Babcock NC LLC             Harden Non-HUD Holdco, LLC (100%)




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   PM Management - Cedar Park NC LLC               Harden Non-HUD Holdco, LLC (100%)
   PM Management - Corpus Christi NC II LLC        Harden Non-HUD Holdco, LLC (100%)
   PM Management - Corpus Christi NC III LLC       Harden Non-HUD Holdco, LLC (100%)
   PM Management - Corsicana NC II LLC             Harden Non-HUD Holdco, LLC (100%)
   PM Management - Corsicana NC III LLC            Harden Non-HUD Holdco, LLC (100%)
   PM Management - Corsicana NC LLC                Harden Non-HUD Holdco, LLC (100%)
   PM Management - Denison NC LLC                  Harden Non-HUD Holdco, LLC (100%)
   PM Management - El Paso I NC LLC                Harden Non-HUD Holdco, LLC (100%)
   PM Management - Fredericksburg NC LLC           Harden Non-HUD Holdco, LLC (100%)
   PM Management - Frisco NC LLC                   Harden Non-HUD Holdco, LLC (100%)
   PM Management - Garland NC LLC                  Harden Non-HUD Holdco, LLC (100%)
   PM Management - Golden Triangle NC I LLC        Harden Non-HUD Holdco, LLC (100%)
   PM Management - Golden Triangle NC II LLC       Harden Non-HUD Holdco, LLC (100%)
   PM Management - Golden Triangle NC III LLC      Harden Non-HUD Holdco, LLC (100%)
   PM Management - Golden Triangle NC IV LLC       Harden Non-HUD Holdco, LLC (100%)
   PM Management - Killeen I NC LLC                  Harden HUD Holdco, LLC (100%)
   PM Management - Killeen II NC LLC                 Harden HUD Holdco, LLC (100%)
   PM Management - Killeen III NC LLC                Harden HUD Holdco, LLC (100%)
   PM Management - Lewisville NC LLC               Harden Non-HUD Holdco, LLC (100%)
   PM Management - New Braunfels NC LLC              Harden HUD Holdco, LLC (100%)
   PM Management - Park Valley NC LLC                Harden HUD Holdco, LLC (100%)
   PM Management - Pflugerville AL LLC             Harden Non-HUD Holdco, LLC (100%)
   PM Management - Portland AL LLC                 Harden Non-HUD Holdco, LLC (100%)
   PM Management - Portland NC LLC                 Harden Non-HUD Holdco, LLC (100%)
   PM Management - Round Rock AL LLC               Harden Non-HUD Holdco, LLC (100%)
   PM Management - San Antonio NC LLC              Harden Non-HUD Holdco, LLC (100%)
   Presidential SCC LLC                               Senior Care Centers, LLC (100%)
   Redoak SCC LLC                                     Senior Care Centers, LLC (100%)
   Riverside SCC LLC                                  Senior Care Centers, LLC (100%)
   Round Rock SCC LLC                                 Senior Care Centers, LLC (100%)
   Rowlett SCC LLC                                    Senior Care Centers, LLC (100%)
   Ruston SCC LLC                                     Senior Care Centers, LLC (100%)
   RW SCC LLC                                         Senior Care Centers, LLC (100%)
   Sagebrook SCC LLC                                  Senior Care Centers, LLC (100%)
   San Angelo SCC LLC                                 Senior Care Centers, LLC (100%)
   SCC Edinburg LLC                                   Senior Care Centers, LLC (100%)
   SCC Hospice Holdco LLC                             Senior Care Centers, LLC (100%)
   SCC Senior Care Investments LLC                    Senior Care Centers, LLC (100%)
   SCC Socorro LLC                                    Senior Care Centers, LLC (100%)
   Senior Care Center Management II LLC               Senior Care Centers, LLC (100%)
   Senior Care Center Management LLC                  Senior Care Centers, LLC (100%)
   Senior Care Centers Home Health LLC                Senior Care Centers, LLC (100%)
   Senior Care Centers, LLC                         Silver Star Investments, LLC (68.3%)




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                                                     Senior Care Centers, LLC (85.09%)
   Senior Rehab Solutions LLC                        CTLTC Real Estate, LLC (14.91%)
   Senior Rehab Solutions North Louisiana LLC         Senior Care Centers, LLC (100%)
   Shreveport SCC LLC                                 Senior Care Centers, LLC (100%)
   Solutions 2 Wellness LLC                           Senior Care Centers, LLC (100%)
   South Oaks SCC LLC                                 Senior Care Centers, LLC (100%)
   Springlake ALF SCC LLC                             Senior Care Centers, LLC (100%)
   Springlake SCC LLC                                 Senior Care Centers, LLC (100%)
   Stallings Court SCC LLC                            Senior Care Centers, LLC (100%)
   Stonebridge SCC LLC                                Senior Care Centers, LLC (100%)
   Stonegate SCC LLC                                  Senior Care Centers, LLC (100%)
   Summer Regency SCC LLC                             Senior Care Centers, LLC (100%)
   TRISUN Healthcare LLC                              CTLTC Real Estate, LLC (100%)
   Valley Grande SCC LLC                              Senior Care Centers, LLC (100%)
   Vintage SCC LLC                                    Senior Care Centers, LLC (100%)
   West Oaks SCC LLC                                  Senior Care Centers, LLC (100%)
   Western Hills SCC LLC                              Senior Care Centers, LLC (100%)
   Weston Inn SCC LLC                                 Senior Care Centers, LLC (100%)
   Westover Hills SCC LLC                             Senior Care Centers, LLC (100%)
   Whitesboro SCC LLC                                 Senior Care Centers, LLC (100%)
   Windcrest SCC LLC                                  Senior Care Centers, LLC (100%)
   Windmill SCC LLC                                   Senior Care Centers, LLC (100%)
   Wurzbach SCC LLC                                   Senior Care Centers, LLC (100%)




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 Fill in this information to identify the case and this filing:


             Senior Care Centers, LLC, et al.
 Debtor Name __________________________________________________________________
                                            Northern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         x
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         x
                                                         Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    12/4/2018
        Executed on ______________                          /s/ Kevin O'Halloran
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Kevin O'Halloran
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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Trey A. Monsour                                     Jeremy R. Johnson (Pro Hac Vice Pending)
State Bar No. 14277200                              Polsinelli PC
Polsinelli PC                                       600 3rd Avenue, 42nd Floor
2950 N. Harwood, Suite 2100                         New York, New York 10016
Dallas, Texas 75201                                 Telephone: (212) 684-0199
Telephone: (214) 397-0030                           Facsimile: (212) 684-0197
Facsimile: (214) 397-0033                           jeremy.johnson@polsinelli.com
tmonsour@polsinelli.com
PROPOSED COUNSEL TO THE DEBTORS
AND DEBTORS IN POSSESSION

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:
                                                   Chapter 11
SENIOR CARE CENTERS, LLC, et al.,
                                                   Case No. 18-______ (___)
                Debtors.
                                                   (Joint Administration Pending)


                           LIST OF EQUITY SECURITY HOLDERS

       Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned
debtor hereby provides the following list of holders of equity interests:

Equity Holder                       Equity Funded       % of Equity     Shares       Current
                                                                                     Ownership
Family Trust of Kenneth Alan        200,000.00          1.6000%                      0.3643%
Pieroni and Annette Pieroni dated                                       200,000
11/29/2006
Charles W. Wafer                    1,000,000.00        8.0000%                      1.8213%
                                                                        1,000,000
The J.M. Mallick Revocable Trust    500,000.00          4.0000%                      0.9107%
dated 8/26/1987                                                         500,000
The Maconachy Family Trust dated    250,000.00          2.0000%                      0.4553%
10/22/1992                                                              250,000
Michael Metcalf Chapman 2006        200,000.00          1.6000%                      0.3643%
Revocable Trust                                                         200,000
John W. Maconachy                   100,000.00          0.8000%                      0.1821%
                                                                        100,000
Jack Evans and Mary Jeanette        500,000.00          4.0000%                      0.9107%
Evans, Individuals With                                                 500,000
Survivorship



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The Brian and Sarah Chisick            1,000,000.00       8.0000%                    1.8213%
Revocable Trust dated 3/7/1979                                          1,000,000
LBK Holdings, L.P.                     250,000.00         2.0000%                    0.4553%
                                                                        250,000
Bruce Silk Revocable Trust             100,000.00         0.8000%                    0.1821%
Agreement dated 4/27/2005                                               100,000
Damon C. Suter and Malinda M.          250,000.00         2.0000%                    0.4553%
Suter as Trustees for the Suter                                         250,000
Family Trust dated 4/12/2002
Place Family Partnership               100,000.00         0.8000%                    0.1821%
                                                                        100,000
Michael L. McClung and Bonnie J.       100,000.00         0.8000%                    0.1821%
McClung, joint tenants                                                  100,000
Tom Vickers                            150,000.00         1.2000%                    0.2732%
                                                                        150,000
Pam S. Philips                         200,000.00         1.6000%                    0.3643%
                                                                        200,000
John F. Philips                        400,000.00         3.2000%                    0.7285%
                                                                        400,000
Garganey Properties, LLC (Michael      100,000.00         0.8000%                    0.1821%
Lesoing)                                                                100,000
Vellema Family Trust dated             100,000.00         0.8000%                    0.1821%
6/13/2005                                                               100,000
Siauli Shirley Yang                    100,000.00         0.8000%                    0.1821%
                                                                        100,000
Norman R. Leopold & Penelope J.        100,000.00         0.8000%                    0.1821%
Leopold                                                                 100,000
Julian and Aleen Movsesian             500,000.00         4.0000%                    0.9107%
                                                                        500,000
ERJMJ Investments, LP                  2,000,000.00       16.0000%                   3.6427%
                                                                        2,000,000
Summit Cove, LLC                       100,000.00         0.8000%                    0.1821%
                                                                        100,000
John C. and Judith K. Austin,          750,000.00         6.0000%                    1.3660%
Trustees of the Austin Family Trust,                                    750,000
dated 11/6/1980
Herbert N. Samuels, a Married Man      50,000.00          0.4000%                    0.0911%
as his Separate Property                                                50,000
The Sondra Marks Samuels Trust         50,000.00          0.4000%                    0.0911%
DTD 12/13/2000                                                          50,000
Revocable Declaration of Trust of      200,000.00         1.6000%                    0.3643%
Clifton L. Benson, Jr. Dated                                            200,000
8/4/1999
Page Benson Dickens                    200,000.00         1.6000%                    0.3643%
                                                                        200,000
The Clifton L. Benson, Jr. Family      200,000.00         1.6000%                    0.3643%
Limited Partnership I                                                   200,000
Trust for the Benefit of Alice M.      100,000.00         0.8000%                    0.1821%
Glassman U/T/D 7/20/1962                                                100,000



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Trust for the Benefit of Gene A.      100,000.00         0.8000%                   0.1821%
Heller U/T/D 7/20/1962                                               100,000
Trust for the Benefit of James P.     100,000.00         0.8000%                   0.1821%
Levin U/T/D 7/20/1962                                                100,000
Trust for the Benefit of Philip M.    100,000.00         0.8000%                   0.1821%
Gruber U/T/D 7/20/1962                                               100,000
Ashdam Group, LLC a Delaware          100,000.00         0.8000%                   0.1821%
LLC                                                                  100,000
David K. Samuels and Nadine           100,000.00         0.8000%                   0.1821%
Samuels as JTWROS                                                    100,000
Barbara Mei Revocable Trust dated     250,000.00         2.0000%                   0.4553%
6/21/2007                                                            250,000
Amritpal Rana                         100,000.00         0.8000%                   0.1821%
                                                                     100,000
Kosmas G. Toskos                      100,000.00         0.8000%                   0.1821%
                                                                     100,000
Tim and Jennifer Ayers                100,000.00         0.8000%                   0.1821%
                                                                     100,000
Anthony and Margaret Whitehouse       200,000.00         1.6000%                   0.3643%
Community Property                                                   200,000
Vijyantika Patel Trust, dated         100,000.00         0.8000%                   0.1821%
7/16/1992                                                            100,000
Arthur E. Engel Trust of 1988         500,000.00         4.0000%                   0.9107%
                                                                     500,000
Alfred Lai Living Trust dated         300,000.00         2.4000%                   0.5464%
6/1/1994                                                             300,000
Brian Davis                           100,000.00         0.8000%                   0.1821%
                                                                     100,000
Michael Oles and Kathleen A. Oles     150,000.00         1.2000%                   0.2732%
JTWROS                                                               150,000
Family Trust of Rich Skolburg dated   250,000.00         2.0000%                   0.4553%
11/7/2006                                                            250,000
Silver Star Investments LLC Total         1,000,000.00   68.3004%                  68.3004%
(Founders Capital)                                                   37,500,000
Antonio Cagnolo                                          1.5292%                   0.1366%
                                      300,000.00                     75,000
Brett T. Dalman Trust dtd 11/17/14                       3.8230%                   0.3415%
                                      750,000.00                     187,500
ERJMJ Investments                         5,000,000.00   25.4868%                  2.2767%
                                                                     1,250,000
The Bruno Living Trust DTD                               0.5097%                   0.0455%
1/17/1998                             100,000.00                     25,000
The Luke Children Family Trust                           0.7646%                   0.0683%
                                      150,000.00                     37,500
K & S Coastal Holdings, LLC                              2.0389%                   0.1821%
                                      400,000.00                     100,000
Reisner Millennium Investments,                          1.0195%                   0.0911%
LLC                                   200,000.00                     50,000
SST General Partnership                                  0.5097%                   0.0455%
                                      100,000.00                     25,000


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Cartledge Trust dtd 6/4/2009                              0.3313%                0.0296%
                                       65,000.00                      16,250
Brent Austin                                              0.7646%                0.0683%
                                       150,000.00                     37,500
John C. and Judith K. Austin,              1,000,000.00   5.0974%                0.4553%
Trustees of the Austin Family Trust,                                  250,000
dated 11/6/1980
Todd A. Hayes Revocable Living                            1.0195%                0.0911%
Trust                                  200,000.00                     50,000
The Luke Children Family Trust                            1.7841%                0.1594%
                                       350,000.00                     87,500
Frank & Diana Mandarino                                   1.0195%                0.0911%
Recocable Trust dtd 7/13/2006          200,000.00                     50,000
Garganey Properties, LLC (Michael                         0.5097%                0.0455%
Lesoing)                               100,000.00                     25,000
Osman & Denise Castillo, JTWROS                           1.2743%                0.1138%
                                       250,000.00                     62,500
Robert M. Coury                                           0.2549%                0.0228%
                                       50,000.00                      12,500
Thomas D. Maconachy                                       0.5097%                0.0455%
                                       100,000.00                     25,000
The Maconachy Family Trust dated                          0.6372%                0.0569%
10/22/1992                             125,000.00                     31,250
Michael Arthur Goldman                                    0.2549%                0.0228%
                                       50,000.00                      12,500
Robert & Susan Pedroza                                    0.5097%                0.0455%
                                       100,000.00                     25,000
Albert Mehrabian & Linda Marie                            0.3058%                0.0273%
Mehrabian                              60,000.00                      15,000
Robert E. Reichel                                         0.6117%                0.0546%
                                       120,000.00                     30,000
Rosenblum Living Trust                                    0.7646%                0.0683%
                                       150,000.00                     37,500
Artemis G. Toskos & Kosmas G.                             1.0195%                0.0911%
Toskos, JTWROS                         200,000.00                     50,000
All for Him Investments, LLC                              1.0195%                0.0911%
                                       200,000.00                     50,000
LeWinter Family Trust (Jerry                              2.2938%                0.2049%
LeWinter)                              450,000.00                     112,500
Ohana Del Sol LLC                                         1.5292%                0.1366%
                                       300,000.00                     75,000
Andrew J. Maconachy                                       0.1529%                0.0137%
                                       30,000.00                      7,500
John W. Maconachy                                         0.2549%                0.0228%
                                       50,000.00                      12,500
Steven L. Grose                                           0.5097%                0.0455%
                                       100,000.00                     25,000
Lee Allen Inc.                                            0.5097%                0.0455%
                                       100,000.00                     25,000



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Edgar W. Jones, Jr.                                     0.5097%                  0.0455%
                                       100,000.00                     25,000
Jeffery A. Bynum                                        0.5097%                  0.0455%
                                       100,000.00                     25,000
Khoi Dang Pham Revocable Living                         0.5097%                  0.0455%
Trust                                  100,000.00                     25,000
Michael B. Dworman & Leif W.                            0.2549%                  0.0228%
Ellisen                                50,000.00                      12,500
RKH- Kurt Hartmann 2011 Trust                           0.5097%                  0.0455%
                                       100,000.00                     25,000
Hellums Family Revocable Trust                          0.5097%                  0.0455%
                                       100,000.00                     25,000
John R. Gabriel Revocable Trust                         1.2743%                  0.1138%
                                       250,000.00                     62,500
Hartag Enterprises, LLLP                                2.5487%                  0.2277%
                                       500,000.00                     125,000
John Senick                                             0.5097%                  0.0455%
                                       100,000.00                     25,000
Harry M. Boon Living Trust                              0.6117%                  0.0546%
                                       120,000.00                     30,000
Scott Curry                                             0.5097%                  0.0455%
                                       100,000.00                     25,000
Geoffrey Basler                                         1.5292%                  0.1366%
                                       300,000.00                     75,000
The Chas V. Eckert III, Family Trust                    0.5097%                  0.0455%
                                       100,000.00                     25,000
Polly Ann Fox-Brenton                                   0.2549%                  0.0228%
                                       50,000.00                      12,500
John & Susan Foradas Family Trust                       0.5097%                  0.0455%
                                       100,000.00                     25,000
Douglas C. Van Nostran                                  0.2549%                  0.0228%
                                       50,000.00                      12,500
Leonard Tamburro                                        0.2549%                  0.0228%
                                       50,000.00                      12,500
Pamela Pelini                                           0.5097%                  0.0455%
                                       100,000.00                     25,000
Equity Trust Company Custodian                          0.5097%                  0.0455%
FBO Edward Zorehkey IRA                100,000.00                     25,000
Lawrence Weinberger                                     1.0195%                  0.0911%
                                       200,000.00                     50,000
Thomas F. Vickers and Patricia J.                       0.7646%                  0.0683%
Vickers                                150,000.00                     37,500
Theodore G Habing Living Trust dtd                      1.0195%                  0.0911%
5/1/98                                 200,000.00                     50,000
Forest Bradford Kelly                                   0.5097%                  0.0455%
                                       100,000.00                     25,000
Arthur E. Engel Trust of 1988                           2.5487%                  0.2277%
                                       500,000.00                     125,000
Fred Kastell                                            1.0195%                  0.0911%
                                       200,000.00                     50,000


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Vellema Family Trust dated                             0.5097%                  0.0455%
6/13/2005                             100,000.00                     25,000
Equity Trust Company, Custodian                        0.5097%                  0.0455%
FBO: Tim Carl Ayers A/C               100,000.00                     25,000
200133719
Bruce Silk Revocable Trust                             0.2549%                  0.0228%
Agreement dated 4/27/2005             50,000.00                      12,500
Charles Pedrani and Vivien Francis                     3.0584%                  0.2732%
                                      600,000.00                     150,000
XL Lender's Trust                                      1.5292%                  0.1366%
                                      300,000.00                     75,000
The LeWinter May 15, 2015 Family                       0.2549%                  0.0228%
Trust (Mark LeWinter)                 50,000.00                      12,500
Ketron Family Trust dtd 2/23/99                        0.5097%                  0.0455%
                                      100,000.00                     25,000
Robert & Susan Pedroza                                 0.1019%                  0.0091%
                                      20,000.00                      5,000
George Anderl Living Trust                             1.0195%                  0.0911%
                                      200,000.00                     50,000
Weshop Marketing Company                               0.5097%                  0.0455%
Defined Benefit Pension Plan and      100,000.00                     25,000
Trust
PFM USA LLC                                            0.5097%                  0.0455%
                                      100,000.00                     25,000
Lycay LLC                                              0.5097%                  0.0455%
                                      100,000.00                     25,000
William Brian Graff and Elisabetta                     1.2743%                  0.1138%
Miserere Graff Revocable Living       250,000.00                     62,500
Trust
Jubilee Minerals LLC                                   0.2549%                  0.0228%
                                      50,000.00                      12,500
W. Bruce Bercovich                                     0.5097%                  0.0455%
                                      100,000.00                     25,000
Geary Plaza Irrevocable Trust                          1.0195%                  0.0911%
                                      200,000.00                     50,000
Revocable Living Trust of Larry J.                     0.5097%                  0.0455%
Milam and Debra A. Milam              100,000.00                     25,000
David H. Smith                                         0.3313%                  0.0296%
                                      65,000.00                      16,250
Place Family Partnership                               0.2549%                  0.0228%
                                      50,000.00                      12,500
The Survivors Trust under The Jones                    1.0195%                  0.0911%
Family Revocable Trust                200,000.00                     50,000
Broyhill Family Foundation, Inc.                       2.5487%                  0.2277%
                                      500,000.00                     125,000
Broyhill Realty, Inc.                                  1.2743%                  0.1138%
                                      250,000.00                     62,500
Thomas P. Cocke                                        0.5097%                  0.0455%
                                      100,000.00                     25,000



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Millennium Trust Company, LLC                     2.0389%                  0.1821%
Custodian FBO Suzanne Ruth       400,000.00                     100,000
Young
Seth and Carolyn Rudnick                          0.6372%                  0.0569%
                                 125,000.00                     31,250
Millennium Trust Company, LLC                     0.0510%                  0.0046%
Custodian FBO Bruce V. Roberts   10,000.00                      2,500
Quest IRA Inc., FBO David John                    0.3976%                  0.0355%
Hetzel IRA #2657621              78,000.00                      19,500




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 Fill in this information to identify the case and this filing:


              Senior Care Centers, LLC
 Debtor Name __________________________________________________________________
                                            Northern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         x
                                                         List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     12/4/2018
        Executed on ______________                          /s/ Kevin O'Halloran
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Kevin O'Halloran
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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